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UNITED STATES DISTRICT COURT                                         DOC #:
SOUTHERN DISTRICT OF NEW YORK                                        DATE FILED: 11/5/2020
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 UNITED STATES OF AMERICA,                                    :
                                                              :
                 -against-                                    : 18-CR-840 (VEC)
                                                              :
 DEJAN PISKACEK,                                              :     ORDER
                                                              :
                                          Defendant.          :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on November 4, 2020, the Court ordered that, not later than November 10,

2020, the Government must explain the Bureau of Prison’s failure to place Defendant Dejan

Piskacek on house arrest after completing his term of incarceration (Dkt. 172);

       WHEREAS on November 5, 2020, in response to a request from the Bureau of Prisons,

the Office of the United States Marshal inquired of chambers whether the Court wanted Mr.

Piskacek to be arrested; and

       WHEREAS the Court is concerned that there has been a significant miscommunication or

there is a serious misunderstanding within the Department of Justice regarding this matter;

       IT IS HEREBY ORDERED that the parties must appear before the Court for a

conference on November 6, 2020, at 11:00 a.m. The parties are instructed to dial-in to the

conference using (888) 363-4749 // Access code: 3121171# // Security code: 0840#.



SO ORDERED.
                                                    _________________________________
Date: November 5, 2020                               VALERIE CAPRONI
      New York, NY                                  United States District Judge
